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permitted by law, exercise all its rights (including the Lender’s right of set-off) with respect to
such participation as fully as if such Lender were the direct creditor of the Borrowers in the
amount of such participation.

3.03 Apportionment of Payments.

(a) All payments of principal and interest in respect of outstanding Loans,
all payments of fees and all other payments in respect of any other Obligations, shall be allocated
by the Administrative Agent among such of the Lenders as are entitled thereto, in proportion to
their respective Pro Rata Shares or otherwise as provided herein or, in respect of payments not
made on account of the Loans as designated by the Person making payment when the payment is
made. The Administrative Agent will promptly distribute any such payment to each Lender, as
appropriate, within one (1) Business Day of receipt. So long as no Event of Default shall have
occurred and be continuing, the Administrative Agent shall, subject to the provisions of this
Agreement, apply all payments in respect of any Obligations and all proceeds of the Collateral as
set forth in Section 2.06.

(b) After the occurrence and during the continuance of an Event of
Default or on the Maturity Date, the Administrative Agent may, and upon the direction of the
Required Lenders shall, apply all payments in respect of any Obligations and all proceeds of the
Collateral, subject to the provisions of this Agreement (i) first, to pay the Obligations in respect
of any fees, expense reimbursements, indemnities and other amounts then due to the
Administrative Agent, as administrative agent, until paid in full; (ii) second, to pay the
Obligations in respect of any fees, expense reimbursements and indemnities then due to the
Lenders until paid in full; (iii) third to pay interest due in respect of the Loans, as determined by
the Administrative Agent, until paid in full; (iv) fourth to pay principal of the Loans, as
determined by the Administrative Agent, until paid in full; (v) fifth, to the ratable payment of all
other Obligations then due and payable, (vi) sixth, to the extent that there has been asserted any
claim to which the Administrative Agent and/or the Lender-Related Parties may be entitled to
indemnification pursuant to the terms of this Loan Agreement, to establish a reserve in an
amount determined by the Administrative Agent in good faith, and (vii) seventh, to the
Administrative Borrower for distribution to the Borrowers or to whomever is legally entitled to
such proceeds as ordered by the Bankruptcy Court.

3.04 Computations. Interest on the Loans shall be computed based on a
360-day year for the actual days elapsed (including the first day but excluding the last day)
occurring in the period for which payable.

3.05 Joint and Several Liability of Borrowers.

(a) Notwithstanding anything in this Loan Agreement or any other Loan
Document to the contrary, each of the Borrowers hereby accepts joint and several liability
hereunder and under the other Loan Documents in consideration of the financial
accommodations to be provided by the Administrative Agent and the Lenders under this Loan
Agreement and the other Loan Documents, for the mutual benefit, directly and indirectly, of each
of the Borrowers and in consideration of the undertakings of the other Borrowers to accept joint
and several liability for the Obligations. Each of the Borrowers, jointly and severally, hereby

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irrevocably and unconditionally accepts, not merely as a surety but also as a co-debtor, joint and
several liability with the other Borrowers, with respect to the payment and performance of all of
the Obligations (including, without limitation, any Obligations arising under this Section 3.05), it
being the intention of the parties hereto that all the Obligations shall be the joint and several
obligations of each of the Borrowers without preferences or distinction among them. If and to
the extent that any of the Borrowers shall fail to make any payment with respect to any of the
Obligations as and when due or to perform any of the Obligations in accordance with the terms
thereof, then in each such event the other Borrowers will make such payment with respect to, or
perform, such Obligation. Subject to the terms and conditions hereof, the Obligations of each of
the Borrowers under the provisions of this Section 3.05 constitute the absolute and
unconditional, full recourse Obligations of each of the Borrowers enforceable against each such
Person to the full extent of its properties and assets, irrespective of the validity, regularity or
enforceability of this Agreement, the other Loan Documents or any other circumstances
whatsoever.

(b) The provisions of this Section 3.05 are made for the benefit of the
Administrative Agent on behalf of the Lenders and their successors and assigns, and may be
enforced by the Administrative Agent from time to time against any or all of the Borrowers as
often as occasion therefor may arise and without requirement on the part of the Administrative
Agent, the Lenders or such successors or assigns first to marshal any of its or their claims or to
exercise any of its or their rights against any of the other Borrowers or to exhaust any remedies
available to it or them against any of the other Borrowers or to resort to any other source or
means of obtaining payment of any of the Obligations hereunder or to elect any other remedy.
The provisions of this Section 3.05 shall remain in effect until all of the Obligations shall have
been paid in full or otherwise fully satisfied.

(c) Each of the Borrowers hereby agrees that it will not enforce any of its
rights of contribution or subrogation against the other Borrowers with respect to any liability
incurred by it hereunder or under any of the other Loan Documents, any payments made by it to
the Administrative Agent or the Lenders with respect to any of the Obligations or any Collateral
until such time as all of the Obligations have been paid in full in cash. Any claim which any
Borrower may have against any other Borrower with respect to any payments to the
Administrative Agent or the Lenders hereunder or under any other Loan Documents are hereby
expressly made subordinate and junior in right of payment, without limitation as to any increases
in the Obligations arising hereunder or thereunder, to the prior payment in full in cash of the
Obligations.

3.06 U.S. Taxes.

(a) Except as required by applicable law, any and all payments by or on
account of any Obligation of the Borrowers hereunder shall be made free and clear of and
without deduction for any Taxes; provided, however, that if any deduction of Indemnified Taxes
shall be required, then (i) the Borrowers shall increase the sum payable so that after all required
deductions (including deductions applicable to additional sums payable under this Section 3.06)
the Administrative Agent, the Lenders and each of their respective Tax Related Persons receives
and retains (after withholding and payment of all Taxes, including income Taxes) an amount
equal to the sum it would have received and retained had no such deductions been made, (ii) the

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Borrowers or the Administrative Agent shall make such deductions and (iii) the Borrowers or the
Administrative Agent shall pay the full amount deducted to the relevant Governmental
Authorities in accordance with applicable law.

(b) In addition, each Borrower shall pay all Other Taxes to the relevant
Governmental Authorities in accordance with applicable law.

(c) Each Borrower shall indemnify the Administrative Agent and each
Lender (including for these purposes a Participant), within ten days after demand therefor, for the
full amount of any Indemnified Taxes or Other Taxes paid or incurred by the Administrative
Agent or such Lender or their respective Tax Related Persons, as the case may be, relating to,
arising out of, or in connection with, this Loan Agreement, any Note, any other Loan Document
or any payment or transaction contemplated hereby or thereby, whether or not such Indemnified
Taxes or Other Taxes were correctly or legally imposed or asserted by the relevant
Governmental Authority. Such indemnification shall be made on an after-Tax basis, such that
after all required deductions and payments of all Taxes (including deductions applicable to
amounts payable under this Section 3.06; and income Taxes) and payment of all reasonable
expenses, the Administrative Agent, the Lenders and each of their respective Tax Related
Persons receives and retains an amount equal to the sum it would have received and retained had
it not paid or incurred or been subject to such Indemnified Taxes or Other Taxes. The written
demand shall include a certificate setting forth the amount of such Indemnified Taxes and/or
Other Taxes. Such certificate shall be conclusive, absent manifest error. For purposes of this
Section 3.06 and any provision of any Loan Document requiring payment by the Borrowers on
an after-Tax basis, the indemnitee or recipient of such payment (or its Tax Related Persons, as
applicable) shall be conclusively presumed to be subject to current income taxation at the highest
marginal rate applicable to persons of the indemmnitee’s classification (e.g., individual,
corporation or trust).

(d) As soon as practicable after any payment of Indemnified Taxes or
Other Taxes by any Borrower to a Governmental Authority, such Borrower shall deliver to the
Administrative Agent the original or a certified copy of a receipt, if any, issued by such
Governmental Authority evidencing such payment or other evidence of such payment reasonably
satisfactory to the Administrative Agent.

(e) To the extent legally entitled to do so, the Administrative Agent and
each Lender shall furnish to the Administrative Borrower and the Administrative Agent (as
applicable) Internal Revenue Service Forms W-8BEN, W-8ECI, W-8IMY or W-9 to the extent
necessary to obtain a reduction of or exemption from withholding taxes imposed by the United
States of America with respect to payments made by the Borrowers or the Administrative Agent
under any Loan Document. Each Lender and the Administrative Agent shall provide such forms
prior to the first interest payment date after becoming a party to this Agreement and when
reasonably and timely requested by the Administrative Borrower or the Administrative Agent (as
applicable). “United States persons” (within the meaning of Code Section 7701(a)(30)) that are
“exempt recipients” (within the meaning of Treasury Regulations Section 1.6049-4(c)(i)(ii)
(without regard to the second sentence thereof)) shall not be required to furnish an Internal
Revenue Service Form W-9, except to the extent required under Treasury Regulations Section
1.1441-1(d)(4) (if applicable). None of the Administrative Agent, any Lender or any Tax Related

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Person shall be required to make available any information that it deems confidential to the
Borrowers or to any other Person.

3.07 Fees. The Borrowers shall pay the following fees and charges, which
fees and charges shall be non-refundable when paid (irrespective of whether this Agreement is
terminated thereafter):

(a) Facility Fee. To each Lender under the Facility, a facility fee on such
Lender’s Pro Rata Share of $35,000,000 (the “Facility Fee”) from the date hereof until the
Maturity Date or, if later, the date on which all the Loans shall have been fully and finally repaid,
at a rate equal to 0.50% per annum, payable in arrears (i) on each Monthly Payment Date,
commencing on the first Monthly Payment Date following the Closing Date, (ii) on the Maturity
Date and (iii) if later than the Maturity Date, the date on which all the Loans shall have been
fully and finally repaid.

(b) Commitment Fees. To the Administrative Agent on the date of entry
of the Initial Order, a commitment fee in an amount equal to 1.00% times $50,000,000.

Section 4. Collateral Security and Administrative Priority.

4.01 Collateral: Security Interest.

(a) Pursuant to and as provided in the Orders, as security for the full and
timely payment and performance of all of the Obligations, each Borrower hereby as of the
Closing Date assigns, pledges, transfers and grants to the Administrative Agent, for the benefit of
the Secured Parties, pursuant to Section 364 of the Bankruptcy Code, a perfected security interest
in and to and Lien on all of its right, title and interest in, to and under all the Collateral, whether
now owned or hereafter acquired, now existing or hereafter created and wherever located, to
secure the payment of the Obligations. Each Borrower agrees to mark its computer records and
tapes to evidence the security interests granted to the Administrative Agent, for the benefit of the
Secured Parties, hereunder.

(b) Each Borrower agrees to direct and to cause all Persons remitting
funds that constitute part of the Collateral, to remit such funds to the Facility Collection Account.
To the extent that any Borrower (or any of its agents or employees) receives any funds that
would be remitted to Control Accounts pursuant to the immediately preceding sentence, such
Borrower agrees to deposit immediately such funds into the applicable Control Account.

4.02 Perfection of Security Interests.

(a) Each Borrower shall, at its expense, promptly and duly execute and deliver,
and have recorded, such agreements, instruments and documents and perform any and all actions
reasonably requested by the Administrative Agent at any time and from time to time to perfect,
maintain, protect, and enforce the Lenders’ security interest in the Collateral of such Borrower,
including, without limitation, (i) executing and filing financing or continuation statements, and
amendments thereof, in form and substance satisfactory to the Administrative Agent, (ii) in the
case of any Investment Property, Deposit Accounts, taking any actions required by the
Administrative Agent to enable the Administrative Agent to obtain Control with respect thereto,

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(iii) executing and delivering such documents, agreements and instruments as may be required
by the Administrative Agent to further evidence and perfect its security interests in all
Intellectual Property, (iv) maintaining complete and accurate stock records, (v) using its best
efforts in delivering to the Administrative Agent negotiable warehouse receipts, if any, and, upon
the Administrative Agent’s request therefor, non-negotiable warehouse receipts covering any
portion of the Collateral located in warehouses and for which warehouse receipts are issued, (vi)
placing notations on such Borrower’s certificates of title or books of account to disclose the
Administrative Agent’s security interest therein, (vii) delivering to the Administrative Agent all
documents, certificates and Instruments necessary or desirable to perfect the Administrative
Agent’s Lien in letters of credit on which such Borrower is named as beneficiary and all
acceptances issued in connection therewith, (viii) after the occurrence and during the
continuation of an Event of Default, transferring Inventory maintained in warehouses to other
warehouses designated by the Administrative Agent and (ix) taking such other steps as are
deemed necessary or desirable to maintain the Administrative Agent’s security interest in the
Collateral.

(b) Each Borrower hereby authorizes the Administrative Agent at any time and
from time to time to execute and file financing statements or continuation statements and
amendments thereto and other filing or recording documents or instruments with respect to the
Collateral without the signature of such Borrower in such form and in such offices as the
Administrative Agent determines appropriate to perfect the security interests of the
Administrative Agent under this Agreement. Each Borrower shall pay the costs of, or incidental
to, any recording or filing of any financing statements concerning the Collateral. Each Borrower
agrees that a carbon, photographic, photostatic, or other reproduction of this Agreement or of a
financing statement is sufficient as a financing statement. If any Collateral is at any time in the
possession or control of any warehouseman, bailee or such Borrower’s agents or processors,
such Borrower shall notify such warehouseman, bailee, agents or processors of the
Administrative Agent’s security interest, which notification shall specify that such Person shall
hold all such Collateral for the benefit of the Administrative Agent and, upon the occurrence and
during the continuance of an Event of Default, hold all such Collateral for the Administrative
Agent’s account subject to the Administrative Agent’s instructions. From time to time, each
Borrower shall, upon the Administrative Agent’s request, execute and deliver written
instruments pledging to the Administrative Agent the Collateral described in any such
instruments or otherwise, but the failure of such Borrower to execute and deliver such
confirmatory instruments shall not affect or limit the Administrative Agent’s security interest or
other rights in and to the Collateral. Until all Obligations have been fully satisfied and the
Commitments shall have been terminated, the Administrative Agent’s security interest in the
Collateral, and all Proceeds and products thereof, shall continue in full force and effect.

(c) Notwithstanding subsections (a) and (b) of this Section 4.02, or any failure on
the part of any Borrower or the Administrative Agent to take any of the actions set forth in such
subsections, the Liens and security interests granted herein shall be deemed valid, enforceable
and perfected by entry of the Interim Order and the Final Order, as applicable. No financing
statement, notice of Lien, mortgage, deed of trust or similar instrument in any jurisdiction or
filing office need be filed or any other action taken in order to validate and perfect the Liens and
security interests granted by or pursuant to this Agreement or the Orders.

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4.03 Rights of Lender; Limitations on Lenders’ Obligations.

(a) Subject to each Borrower’s rights and duties under the Bankruptcy Code
(including Section 365 of the Bankruptcy Code), it is expressly agreed by each Borrower that,
anything herein to the contrary notwithstanding, such Borrower shall remain liable under its
Contracts to observe and perform all the conditions and obligations to be observed and
performed by it thereunder. Neither the Administrative Agent nor any Secured Party shall have
any obligation or liability under any Contract by reason of or arising out of this Agreement, the
other Loan Documents or the Orders, or the granting to the Administrative Agent of a security
interest therein or the receipt by the Administrative Agent or any Lender of any payment relating
to any Contract pursuant hereto, nor shall the Administrative Agent be required or obligated in
any manner to perform or fulfill any of the obligations of any Borrower under or pursuant to any
Contract, or to make any payment, or to make any inquiry as to the nature or the sufficiency of
any payment received by it or the sufficiency of any performance by any party under any
Contract, or to present or file any claim, or to take any action to collect or enforce any
performance or the payment of any amounts which may have been assigned to it or to which it
may be entitled at any time or times.

(b) Subject to Section 4.05, the Administrative Agent authorizes each Borrower to
collect its Accounts, provided that such collection is performed in accordance with such
Borrower’s customary procedures, and the Administrative Agent may, upon the occurrence and
during the continuation of any Event of Default and without notice, other than any requirement
of notice provided in the Orders, limit or terminate said authority at any time.

(c) Subject to any requirement of notice provided in the Orders, the
Administrative Agent may at any time, upon the occurrence and during the continuation of any
Event of Default, notify Account Debtors, notify the other parties to the Contracts of the
Borrowers, notify obligors of Instruments and Investment Property of the Borrowers and notify
obligors in respect of Chattel Paper of the Borrowers that the right, title and interest of the
Borrowers in and under such Accounts, such Contracts, such Instruments, such Investment
Property and such Chattel Paper have been assigned to the Administrative Agent and that
payments shall be made directly to the Administrative Agent. Subject to any requirement of
notice provided in the Orders, upon the request of the Administrative Agent, the Borrowers will
so notify such Account Debtors, such parties to Contracts, obligors of such Instruments and
Investment Property and obligors in respect of such Chattel Paper. Subject to any requirement of
notice provided in the Orders, upon the occurrence and during the continuation of an Event of
' Default, the Administrative Agent may in its own name, or in the name of others, communicate
with such parties to such Accounts, Contracts, Instruments, Investment Property and Chattel
Paper to verify with such Persons to the Administrative Agent’s reasonable satisfaction the
existence, amount and terms of any such Accounts, Contracts, Instruments, Investment Property
or Chattel Paper.

4.04 Covenants of the Borrowers with Respect to Collateral. Each Borrower
hereby covenants and agrees with the Administrative Agent that from and after the date of this
Agreement and until the Obligations are fully satisfied:

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(a) Such Borrower will not, (i) change its jurisdiction of organization or the
location of its chief executive office or sole place of business, or (ii) change its name, identity,
taxpayer identification number, organizational identification number, or organizational structure
or form to such an extent that any financing statement filed by the Administrative Agent in
connection with this Agreement would become incorrect or misleading.

(b) Such Borrower will keep and maintain, at its own cost and expense,
satisfactory and complete records of the Collateral, in all material respects, including, without
limitation, a record of all payments received and all credits granted with respect to the Collateral
and all other dealings concerning the Collateral. For the Administrative Agent’s further security,
each Borrower agrees that the Administrative Agent shall have a property interest in all of such
Borrower’s books and Records pertaining to the Collateral and, upon the occurrence and during
the continuation of an Event of Default, such Borrower shall deliver and turn over any such
books and Records to the Administrative Agent or to their respect representatives at any time on
demand of the Administrative Agent.

(c) In any suit, proceeding or action brought by the Administrative Agent relating
to any Account, Chattel Paper, Contract, General Intangible, Investment Property, Instrument,
Intellectual Property or other Collateral for any sum owing thereunder or to enforce any
provision of any Account, Chattel Paper, Contract, General Intangible, Investment Property,
Instrument, Intellectual Property or other Collateral, such Borrower will save, indemnify and
keep the Secured Parties harmless from and against all expense, loss or damage suffered by the
Secured Parties by reason of any defense, setoff, counterclaim, recoupment or reduction of
liability whatsoever of the obligor thereunder, arising out of a breach by such Borrower of any
obligation thereunder or arising out of any other agreement, indebtedness or liability at any time
owing to, or in favor of, such obligor or its successors from such Borrower, and all such
obligations of such Borrower shall be and remain enforceable against and only against such
Borrower and shall not be enforceable against the Administrative Agent.

(d) Such Borrower will not create, permit or suffer to exist, and will defend the
Collateral against and take such other action as is necessary to remove, any Lien on the
Collateral except Permitted Liens and will defend the right, title and interest of the
Administrative Agent in and to all of such Borrower’s rights under the Collateral and in and to
the Proceeds thereof against the claims and demands of all Persons whomsoever other than
claims or demands arising out of Permitted Liens.

(e) Such Borrower will not, without the Administrative Agent’s prior written
consent, grant any extension of the time of payment of any of the Accounts, Accounts
Receivable, Chattel Paper, Instruments, Payment Intangibles or Supporting Obligations,
compromise, compound or settle the same for less than the full amount thereof, release, wholly
or partly, any Person liable for the payment thereof, or allow any credit or discount whatsoever
thereon other than any of the foregoing which are done in the ordinary course of business,
consistent with past practices and trade discounts granted in the ordinary course of business of
such Borrower.

(f) Such Borrower will advise the Lenders promptly, in reasonable detail, (i) of
any Lien asserted against any of the Collateral other than Permitted Liens and (ii) of the

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occurrence of any other event which could have a Material Adverse Effect with respect to the
aggregate value of the Collateral or on the security interests created hereunder.

(g) Such Borrower will keep and maintain the Equipment in good operating
condition sufficient for the continuation of the business conducted by such Borrower on a basis
consistent with past practices, ordinary wear and tear excepted.

(h) Pledged Collateral.

(i) Upon request of the Administrative Agent, such Borrower will (x)
deliver to the Administrative Agent, all certificates or Instruments representing or
evidencing any Pledged Collateral, whether now arising or hereafter acquired, in
suitable form for transfer by delivery or, as applicable, accompanied by such
Borrower’s endorsement, where necessary, or duly executed instruments of transfer
or assignment in blank, all in form and substance satisfactory to the Administrative
Agent, together with a Pledge Amendment, duly executed by the Borrowers, in
form and substance acceptable to the Administrative Agent (a “Pledge
Amendment”), in respect of such Additional Pledged Collateral and authorizes the
Administrative Agent to attach each Pledge Amendment to this Agreement and
(y) maintain all other Pledged Collateral constituting Investment Property in a
Control Account subject to a binding Control Account Letter. The Administrative
Agent shall have the right, at any time in their discretion and without notice to the
Borrowers, to transfer to or to register in its name or in the name of its nominees
any or all of the Pledged Collateral. The Administrative Agent shall have the right
at any time to exchange certificates or instruments representing or evidencing any
of the Pledged Collateral for certificates or instruments of smaller or larger
denominations. ,

(ii) Except as provided in Section 4.07, such Borrower shall be entitled
to receive all cash dividends paid in respect of the Pledged Collateral (other than
liquidating or distributing dividends) with respect to the Pledged Collateral. Any
sums paid upon or in respect of any of the Pledged Collateral upon the liquidation
or dissolution of any issuer of any of the Pledged Collateral, any distribution of
capital made on or in respect of any of the Pledged Collateral or any property
distributed upon or with respect to any of the Pledged Collateral pursuant to the
recapitalization or reclassification of the capital of any issuer of Pledged Collateral
or pursuant to the reorganization thereof shall, unless otherwise subject to a
perfected security interest in favor of the Administrative Agent, be delivered to the
Administrative Agent to be held by it hereunder as additional collateral security for
the Obligations. If any sums of money or property so paid or distributed in respect
of any of the Pledged Collateral shall be received by such Borrower, such
Borrower shall, until such money or property is paid or delivered to the
Administrative Agent, hold such money or property in trust for the Administrative
Agent, segregated from other funds of such Borrower, as additional security for the
Obligations.

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(iii) Except as provided in Section 4.07, such Borrower will be entitled
to exercise all voting, consent and corporate rights with respect to the Pledged
Collateral; provided, however, that no vote shall be cast, consent given or right
exercised or other action taken by such Borrower which would impair the
Collateral or which would be inconsistent with or result in any violation of any
provision of this Agreement, the other Loan Documents or the Orders or, without
prior notice to the Administrative Agent, to enable or take any other action to
permit any issuer of Pledged Collateral to issue any stock or other equity securities
of any nature or to issue any other securities convertible into or granting the right
to purchase or exchange for any stock or other equity securities of any nature of
any issuer of Pledged Collateral.

(iv) Such Borrower shall not grant control over any Investment
Property to any Person other than the Administrative Agent.

(v) In the case of each Borrower which is an issuer of Pledged
Collateral, such Borrower agrees to be bound by the terms of this Agreement
relating to the Pledged Collateral issued by it and will comply with such terms
insofar as such terms are applicable to it. In the case of each Borrower which is a
partner in a partnership, such Borrower hereby consents to the extent required by
the applicable partnership agreement to the pledge by each other Borrower,
pursuant to the terms hereof, of the Pledged Partnership Interests in such
partnership and to the transfer of such Pledged Partnership Interests to the
Administrative Agent or its nominee and to the substitution of the Administrative
Agent or its nominee as a substituted partner in such partnership with all the rights,
powers and duties of a general partner or a limited partner, as the case may be. In
the case of each Borrower which is a member of a limited liability company, such
Borrower hereby consents to the extent required by the applicable limited liability
company agreement to the pledge by each other Borrower, pursuant to the terms
hereof, of the Pledged LLC Interests in such limited liability company and to the
transfer of such Pledged LLC Interests to the Administrative Agent or its nominee
and to the substitution of the Administrative Agent or its nominee as a substituted
member of the limited liability company with all the rights, powers and duties of a
member of the limited liability company in question.

(vi) Such Borrower will not agree to any amendment of a limited
liability company agreement or partnership agreement that in any way adversely
affects the perfection of the security interest of the Administrative Agent in the
Pledged Partnership Interests or Pledged LLC Interests pledged by such Borrower
hereunder, including electing to treat the membership interest or partnership
interest of such Borrower as a security under Section 8-103 of the UCC.

(i) Intellectual Property.

(i) Such Borrower (either itself or through licensees) will (i) continue
to use each Trademark that is Intellectual Property in order to maintain such
Trademark in full force and effect with respect to each class of goods for which

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such Trademark is currently used, free from any claim of abandonment for
non-use, (ii) maintain as in the past the quality of products and services offered
under such Trademark, (iii) use such Trademark with the appropriate notice of
registration and all other notices and legends required by applicable Requirements
of Law, (iv) not adopt or use any mark which is confusingly similar or a colorable
imitation of such Trademark unless the Administrative Agent shall obtain a
perfected security interest in such mark pursuant to this Agreement and (v) not
(and not permit any licensee or sublicensee thereof to) do any act or knowingly
omit to do any act whereby such Trademark may become invalidated or impaired
in any way.

(ii) Such Borrower (either itself or through licensees) will not do any
act, or omit to do any act, whereby any Patent which is Intellectual Property may
become forfeited, abandoned or dedicated to the public.

(iii) Such Borrower (either itself or through licensees) (i) will not (and
will not permit any licensee or sublicensee thereof to) do any act or omit to do any
act whereby any portion of the Copyrights which is Intellectual Property may
become invalidated or otherwise impaired and (ii) will not (either itself or through
licensees) do any act whereby any portion of the Copyrights which is Intellectual
Property may fall into the public domain.

(iv) Such Borrower (either itself or through licensees) will not do any
act, or omit to do any act, whereby any trade secret which is Intellectual Property
may become publicly available or otherwise unprotectable.

(v) Such Borrower (either itself or through licensees) will not do any
act that knowingly uses any Intellectual Property to infringe the intellectual
property rights of any other Person.

(vi) Such Borrower will notify the Administrative Agent immediately
if it knows, or has reason to know, that any application or registration relating to
any Intellectual Property may become forfeited, abandoned or dedicated to the
public, or of any adverse determination or development (including the institution
of, or any such determination or development in, any proceeding in the United
States Patent and Trademark Office, the United States Copyright Office or any
court or tribunal in any country) regarding such Borrower’s ownership of, right to
use, interest in, or the validity of, any Intellectual Property or such Borrower’s right
to register the same or to own and maintain the same.

(vii) Whenever such Borrower, either by itself or through any agent,
licensee or designee, shall file an application for the registration of any Intellectual
Property with the United States Patent and Trademark Office, the United States
Copyright Office or any similar office or agency within or outside the United
States, such Borrower shall report such filing to the Administrative Agent within
five Business Days after the last day of the fiscal quarter in which such filing
occurs. Upon request of the Administrative Agent, such Borrower shall execute

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and deliver, and have recorded, any and all agreements, instruments, documents,
and papers as the Administrative Agent may request to evidence the Administrative
Agent’s security interest in any Copyright, Patent or Trademark and the goodwill
and general intangibles of such Borrower relating thereto or represented thereby.

(viii)Such Borrower will take all reasonable actions necessary or
requested by the Administrative Agent, including in any proceeding before the
United States Patent and Trademark Office, the United States Copyright Office or
any similar office or agency, to maintain and pursue each application (and to obtain
the relevant registration) and to maintain each registration of any Copyright,
Trademark or Patent that is Intellectual Property, including filing of applications
for renewal, affidavits of use, affidavits of incontestability and opposition and
interference and cancellation proceedings.

(ix) In the event that any Intellectual Property is infringed upon or
misappropriated or diluted by a third party, such Borrower shall notify the
Administrative Agent promptly after such Borrower learns thereof. Such Borrower
shall take appropriate action in response to such infringement, misappropriation or
dilution, including promptly bringing suit for infringement, misappropriation or
dilution and to recover any and all damages for such infringement,
misappropriation or dilution, and shall take such other actions may be appropriate
in its reasonable judgment under the circumstances to protect such Intellectual

Property.

4.05 Performance by Agent of the Borrowers’ Obligations. If any Borrower
fails to perform or comply with any of its agreements contained herein and the Administrative
Agent, as provided for by the terms of this Agreement, shall perform or comply, or otherwise
cause performance or compliance, with such agreement, the expenses of the Administrative
Agent incurred in connection with such performance or compliance, together with interest
thereon at the rate then in effect in respect of the Loans, shall be payable by such Borrower to the
Administrative Agent on demand and shall constitute Obligations secured by the Collateral.
Performance of such Borrower’s obligations as permitted under this Section 4.05 shall in no way
constitute a violation of the automatic stay provided by Section 362 of the Bankruptcy Code and
each Borrower hereby waives applicability thereof. Moreover, neither the Administrative Agent
nor the Lenders shall be responsible for the payment of any costs incurred in connection with
preserving or disposing of Collateral pursuant to Section 506(c) of the Bankruptcy Code and the
Collateral may not be charged for the incurrence of any such cost.

4.06 Limitation on Agent’s Duty in Respect of Collateral. Neither the
Administrative Agent nor any Lender shall have any duty as to any Collateral in its possession or
control or in the possession or control of any agent or nominee of it or any income thereon or as
to the preservation of rights against prior parties or any other rights pertaining thereto, except
that the Administrative Agent shall, with respect to the Collateral in their possession or under
their control, deal with such Collateral in the same manner as the Administrative Agent deal with
similar property for its own account. Upon request of the Borrower, the Administrative Agent

shall account for any moneys received by them in respect of any foreclosure on or disposition of

the Collateral of any Borrower.

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4.07 Remedies, Rights Upon Default.

(a) If any Event of Default shall occur and be continuing, the Administrative
Agent may exercise in addition to all other rights and remedies granted to it in this Agreement,
any other Loan Document and the Orders, all rights and remedies of a secured party under the
UCC. Without limiting the generality of the foregoing, each Borrower expressly agrees that in
any such event the Administrative Agent, without demand of performance or other demand,
advertisement or notice of any kind (except the notice required by the Interim Order or Final
Order or the notice specified below of time and place of public or private sale) to or upon such
Borrower or any other Person (all and each of which demands, advertisements and/or notices are
hereby expressly waived to the maximum extent permitted by the UCC and other applicable
law), may forthwith collect, receive, appropriate and realize upon the Collateral, or any part
thereof, and/or may forthwith sell, lease, assign, give an option or options to purchase, or sell or
otherwise dispose of and deliver said Collateral (or contract to do so), or any part thereof, in one
or more parcels at public or private sale or sales, at any exchange or broker’s board or at any of
the Administrative Agent’s offices or elsewhere at such prices at it may deem best, for cash or on
credit or for future delivery without assumption of any credit risk. The Administrative Agent
shall have the right upon any such public sale or sales to purchase the whole or any part of said
Collateral so sold, free of any right or equity of redemption, which equity of redemption each
Borrower hereby releases. Each Borrower further agrees, at the Administrative Agent’s request,
to assemble the Collateral and make it available to the Administrative Agent at places which the
Administrative Agent shall reasonably select, whether at such Borrower’s premises or elsewhere.
The Administrative Agent shall apply the proceeds of any such collection, recovery, receipt,
appropriation, realization or sale (net of all expenses incurred by the Administrative Agent in
connection therewith, including, without limitation, attorney’s fees and expenses), to the
Obligations in any order deemed appropriate by the Administrative Agent, such Borrower
remaining liable for any deficiency remaining unpaid after such application, and only after so
paying over such net proceeds and after the payment by the Administrative Agent of any other
amount required by any provision of law, including, without limitation, the UCC, need the
Administrative Agent account for the surplus, if any, to such Borrower. To the maximum extent
permitted by applicable law, each Borrower waives all claims, damages, and demands against the
Administrative Agent and the Lenders arising out of the repossession, retention or sale of the
Collateral except such as arise out of the gross negligence or willful misconduct of the
Administrative Agent. Each Borrower agrees that the Administrative Agent need not give more
than seven (7) days’ notice to the Borrowers (which notification shall be deemed given when
mailed or delivered on an overnight basis, postage prepaid, addressed to the Borrowers at their
address referred to in Section 11.03) of the time and place of any public sale of Collateral or of
the time after which a private sale may take place and that such notice is reasonable notification
of such matters. The Administrative Agent and their respective agents shall have the right to
enter upon any real property owned or leased by any Borrower to exercise any of its rights or
remedies under this Agreement. The Administrative Agent shall not be obligated to make any
sale of Collateral regardless of notice of sale having been given. The Administrative Agent may
adjourn any public or private sale from time to time by announcement at the time and place fixed
therefor, and any such sale may, without further notice, be made at the time and place to which it
was adjourned. Each Borrower shall remain liable for any deficiency if the proceeds of any sale
or disposition of the Collateral are insufficient to pay its Obligations and all other amounts to

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which the Administrative Agent are entitled, the Borrowers also being liable for the fees and
expenses of any attorneys employed by the Administrative Agent to collect such deficiency.

(b) Each Borrower hereby waives presentment, demand, protest or any notice (to
the maximum extent permitted by applicable law) of any kind in connection with this Agreement
or any Collateral.

(c) Pledged Collateral.

(i) During the continuance of an Event of Default, if the
Administrative Agent shall give notice of its intent to exercise such rights to the
relevant Borrower or Borrowers, (i) the Administrative Agent shall have the right
to receive any and all cash dividends, payments or other Proceeds paid in respect of
the Pledged Collateral and make application thereof to the Obligations in the order
set forth in Section 3.03(b), and (ii) the Administrative Agent or its nominee may
exercise (A) all voting, consent, corporate and other rights pertaining to the
Pledged Collateral at any meeting of shareholders, partners or members, as the case
may be, of the relevant issuer or issuers of Pledged Collateral or otherwise and (B)
any and all rights of conversion, exchange and subscription and any other rights,
privileges or options pertaining to the Pledged Collateral as if it were the absolute
owner thereof (including the right to exchange at its discretion any and all of the
Pledged Collateral upon the merger, consolidation, reorganization, recapitalization
or other fundamental change in the corporate structure of any issuer of Pledged
Securities, the right to deposit and deliver any and all of the Pledged Collateral
with any committee, depositary, transfer agent, registrar or other designated agency
upon such terms and conditions as the Administrative Agent may determine), all
without liability except to account for property actually received by it, but the
Administrative Agent shall have no duty to any Borrower to exercise any such
right, privilege or option and shall not be responsible for any failure to do so or
delay in so doing.

(ii) In order to permit the Administrative Agent to exercise the voting
and other consensual rights which it may be entitled to exercise pursuant hereto
and to receive all dividends and other distributions which it may be entitled to
receive hereunder, (i) each Borrower shall promptly execute and deliver (or cause
to be executed and delivered) to the Administrative Agent all such proxies,
dividend payment orders and other instruments as the Administrative Agent may
from time to time reasonably request and (ii) without limiting the effect of clause
(i) above, such Borrower hereby grants to the Administrative Agent an irrevocable
proxy to vote all or any part of the Pledged Collateral and to exercise all other
rights, powers, privileges and remedies to which a holder of the Pledged Collateral
would be entitled (including giving or withholding written consents of
shareholders, partners or members, as the case may be, calling special meetings of
shareholders, partners or members, as the case may be, and voting at such
meetings), which proxy shall be effective, automatically and without the necessity
of any action (including any transfer of any Pledged Collateral on the record books
of the issuer thereof) by any other person (including the issuer of such Pledged

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Collateral or any officer or agent thereof) during the continuance of an Event of
Default and which proxy shall only terminate upon the payment in full of the
Obligations.

(iii) Each Borrower hereby expressly authorizes and instructs each
issuer of any Pledged Collateral pledged hereunder by such Borrower to (i) comply
with any instruction received by it from the Administrative Agent in writing that
(A) states that an Event of Default has occurred and is continuing and (B) is
otherwise in accordance with the terms of this Agreement, without any other or
further instructions from such Borrower, and each Borrower agrees that such issuer
shall be fully protected in so complying and (ii) unless otherwise expressly
permitted hereby, pay any dividends or other payments with respect to the Pledged
Collateral directly to the Administrative Agent.

4.08 Appointment as Attorney-in-Fact.

(a) Each Borrower hereby irrevocably constitutes and appoints the Administrative

Agent and any officer or agent thereof, with full power of substitution, as their and their
Subsidiaries’ true and lawful attorney-in-fact with full irrevocable power and authority in the
place and stead of such Borrower and in the name of such Borrower, or in its own name, from
time to time in the Administrative Agent’s discretion, for the purpose of carrying out the terms of
this Agreement, to take any and all appropriate action and to execute and deliver any and all
documents and instruments which may be necessary and desirable to accomplish the purposes of
this Agreement and the transactions contemplated hereby, and, without limiting the generality of
the foregoing, hereby give the Administrative Agent the power and right, on behalf of such
Borrower, without notice to or assent by such Borrower to do the following:

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(i) to ask, demand, collect, receive and give acquittances and receipts
for any and all moneys due and to become due under any Collateral and, in the
name of such Borrower, its own name or otherwise, to take possession of and
endorse and collect any checks, drafts, notes, acceptances or other Instruments for
the payment of moneys due under any Collateral and to file any claim or to take
any other action or proceeding in any court of law or equity or otherwise deemed
appropriate by the Administrative Agent for the purpose of collecting any and all
such moneys due under any Collateral whenever payable and to file any claim or to
take any other action or proceeding in any court of law or equity or otherwise
deemed appropriate by the Administrative Agent for the purpose of collecting any
and all such moneys due under any Collateral whenever payable;

(ii) to pay or discharge taxes, Liens, security interests or other
encumbrances levied or placed on or threatened against the Collateral, to effect any
repairs or any insurance called for by the terms of this Agreement and to pay all or
any part of the premiums therefor and the costs thereof; and

(iii) (A) to direct any party liable for any payment under any of the
Collateral to make payment of any and all moneys due, and to become due
thereunder, directly to the Administrative Agent or as the Administrative Agent

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shall direct; (B) to receive payment of and receipt for any and all moneys, claims
and other amounts due, and to become due at any time, in respect of or arising out
of any Collateral; (C) to sign and indorse any invoices, freight or express bills, bills
of lading, storage or warehouse receipts, drafts against debtors, assignments,
verifications and notices in connection with accounts and other documents
constituting or relating to the Collateral; (D) to commence and prosecute any suits,
actions or proceedings at law or equity in any court of competent jurisdiction to
collect the Collateral or any part thereof and to enforce any other right in respect of
any Collateral; (E) to defend any suit, action or proceeding brought against any
Borrower with respect to any Collateral of such Borrower; (F)to settle,
compromise or adjust any suit, action or proceeding described above and, in
connection therewith, to give such discharges or releases as the Administrative
Agent may deem appropriate; (G) to license or, to the extent permitted by an
applicable license, sublicense, whether general, special or otherwise, and whether
on an exclusive or non-exclusive basis, any trademarks, throughout the world for
such term or terms, on such conditions, and in such manner, as the Administrative
Agent shall in their sole discretion determine; and (H) generally to sell, transfer,
pledge, make any agreement with respect to or otherwise deal with any of the
Collateral as. fully and completely as though the Administrative Agent were the
absolute owner thereof for all purposes, and to do, at the Administrative Agent’s
option and such Borrower’s expense, at any time, or from time to time, all acts and
things which the Administrative Agent reasonably deem necessary to protect,
preserve or realize upon the Collateral and the Administrative Agent’s Lien therein,
in order to effect the intent of this Agreement, all as fully and effectively as such
Borrower might do.

(b) The Administrative Agent agrees that it will forbear from exercising the
power of attorney or any rights granted to the Administrative Agent pursuant to this
Section 4.08, except upon the occurrence or during the continuation of an Event of Default. The
Borrowers hereby ratify, to the extent permitted by law, all that said attorneys shall lawfully do
or cause to be done by virtue hereof. Exercise by the Administrative Agent of the powers
granted hereunder is not a violation of the automatic stay provided by Section 362 of the
Bankruptcy Code and each Borrower waives applicability thereof. The power of attorney
granted pursuant to this Section 4.08 is a power coupled with an interest and shall be irrevocable
until the Obligations are indefeasibly paid in full.

(c) The powers conferred on the Administrative Agent hereunder are solely to
protect the Administrative Agent’s and the Lenders’ interests in the Collateral and shall not
impose any duty upon them to exercise any such powers. The Administrative Agent shall be
accountable only for amounts that it actually receive as a result of the exercise of such powers
and neither it nor any of its officers, directors, employees or agents shall be responsible to any
Borrower for any act or failure to act, except for their own gross negligence or willful
misconduct.

(d) Each Borrower also authorizes the Administrative Agent, at any time and
from time to time upon the occurrence and during the continuation of any Event of Default or as
otherwise expressly permitted by this Agreement, (i) to communicate in its own name or the

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name of its Subsidiaries with any party to any Contract with regard to the assignment of the
right, title and interest of such Borrower in and under the Contracts hereunder and other matters
relating thereto and (ii) to execute any endorsements, assignments or other instruments of
conveyance or transfer with respect to the Collateral.

4.09 Secured, Superpriority Obligations. Each Borrower covenants, represents,
and warrants that, upon the entry of the Interim Order or the Final Order, as applicable, on and
after the Closing Date:

(a) the provisions of the Loan Documents and the Orders are effective to create in
favor of the Administrative Agent, for the benefit of the Secured Parties, legal, valid and
perfected Liens on and security interests (having the priority provided for herein and in the
Orders) in all right, title and interest of each Borrower in the Collateral;

(b) all Obligations will:

(i) pursuant to Section 364(c)(1) of the Bankruptcy Code and the
Orders, at all times constitute allowed super-priority administrative expense claims
in the Cases having priority over (A) all administrative expenses of the kind
specified in Sections 503(b) or 507(b) of the Bankruptcy Code and (B) all expenses
and claims of the Borrowers, whether heretofore or hereafter incurred, including,
without limitation, the kind specified in Sections 105, 326, 328, 506(c), 507(a) and
1114 of the Bankruptcy Code, in each case subject only to the Carve-Out.

(ii) be secured pursuant to Section 364(c)(2) of the Bankruptcy Code
and the Orders, by a first priority perfected security interest in and Lien on all
Property that is unencumbered as of the date hereof, subject only to the Carve-Out
and the Liens on the B of A Collateral; and

(iii) be secured pursuant to Section 364(c)(3) of the Bankruptcy Code
and the Orders, by a perfected junior Lien on, and security interest in, and
mortgage against all Property (other than the B of A Collateral) that is subject to
valid and perfected Liens in existence at the time of the commencement of the
Cases or to valid Liens in existence at the time of such commencement that are
perfected subsequent to such commencement as permitted by Section 546(b) of the
Bankruptcy Code, subject only to the Carve-Out. .

(c) This Agreement and the other Loan Documents are in full force and effect and
the Orders are Non-Stayed Orders.

(i) The Liens, lien priority, administrative priorities and other rights
and remedies granted to the Administrative Agent for the benefit of the Lenders
pursuant to this Agreement, the Interim Order and/or the Final Order (specifically,
including, but not limited to, the existence, perfection and priority of the Liens
provided herein and therein and the administrative priority provided herein and
therein) shall not be modified, altered or impaired in any manner by any other
financing or extension of credit or incurrence of Indebtedness by any of the
Borrowers (pursuant to Section 364 of the Bankruptcy Code or otherwise), or by

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any dismissal or conversion of the Cases, or by any other act or omission
whatsoever.

(d) Notwithstanding any failure on the part of any Borrower, on the one
hand, or the Administrative Agent or the Lenders on the other hand, to perfect, maintain, protect
or enforce the Liens and security interests in the Collateral granted hereunder, the Interim Order
and the Final Order (when entered) shall automatically, and without further action by any Person,
perfect such Liens and security interests against the Collateral.

Section 5. Conditions Precedent

5.01 Conditions Precedent to Initial Loan. The obligation of the Lenders to
make the initial Loans (or otherwise to extend any credit provided for hereunder), is subject to
the fulfillment, to the satisfaction of the Lenders, of each of the conditions precedent set forth
below:

(a) Loan Agreement. The Administrative Agent and the Lenders shall
have received an executed copy of this Loan Agreement.

(b) Loan Documents. The Administrative Agent and the Lenders shall
have received executed copies of each of the other Loan Documents, to the extent applicable,
each of which shall be satisfactory to the Administrative Agent and the Lenders in form and
substance;

(c) Good Standing __Certificates/Organization _ Document. The
Administrative Agent and the Lenders shall have received certified copies of good standing
certificates and organizational documents for each of the Borrowers;

(d) Resolutions. The Administrative Agent and the Lenders shall have
received certified copies of resolutions authorizing the Borrowers to execute, deliver and
perform the Loan Documents to which such Person is a signatory and each other document to be
delivered by such Person from time to time in connection herewith (and the Administrative
Agent and the Lenders may conclusively rely on such certificate until it receives notice in
writing from such Person to the contrary);

(e) Legal Opinions. The Administrative Agent and the Lenders shall have
received the following legal opinions for their benefit an opinion of counsel to the Borrowers in
form and substance satisfactory to the Administrative Agent and the Lenders;

(f) Incumbency Certificate. The Administrative Agent shall have received
a certificate of each Borrower certifying the names and true signatures of the officers of Loan
authorized to sign the Loan Documents to which such Credit Party is a party and any other
documents to which such Borrower is a party that may be executed and delivered in connection
herewith.

(g) Filings, Registrations, Recordings. (i) The Borrowers shall have taken
such action as the Administrative Agent shall have requested in order to perfect the security
interests in favor of the Administrative Agent created pursuant to this Loan Agreement and the

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Orders; and (ii) the Borrowers shall have properly prepared and executed (if necessary) for filing
any documents (including, without limitation, financing statements) requested by the
Administrative Agent to be filed, registered or recorded in order to further evidence the
perfected, first-priority security interest in the Collateral created under this Loan Agreement and
the Orders, subject to no Liens other than those created in favor of the Administrative Agent and
the Lenders hereunder and under the Orders and other Liens permitted hereunder;

(h) [Intentionally Omitted]

(i) Fees and Expenses. The Administrative Agent and the Lenders shall
have received all fees and expenses required to be paid by the Borrowers on or prior to the
Closing Date under this Loan Agreement or any other Loan Document (and such fees and
expenses may be netted out of any Loan made by the Lender hereunder);

(j) Consents, Licenses, Approvals, etc. The Administrative Agent and the
Lenders shall have received copies certified by the Borrowers of all consents, licenses and
approvals, if any, required in connection with the execution, delivery and performance by the
Borrowers of, and the validity and enforceability of, the Loan Documents, which consents,
licenses and approvals shall be in full force and effect;

(k) Insurance. The Administrative Agent and the Lenders shall have
received a certificate of insurance, together with the endorsements thereto, the form and
substance of which shall be satisfactory to the Administrative Agent and the Lenders, and shall
have received evidence in form and substance satisfactory to the Administrative Agent and the
Lenders showing compliance by the Borrowers as of such initial Funding Date with Section
719;

(1) No Material Adverse Change. Other than the filing of the Chapter 11
Cases, no Material Adverse Change shall have occurred;

(m) No Misrepresentation. None of the Borrowers, the Administrative
Agent or any Lender shall have become aware prior to the Closing Date of any information or
other matter affecting (i) the Borrowers, any of their Affiliates or the Collateral, or (ii) the
transactions contemplated hereby, any of which in the Administrative Agent’s or any Lender’s
judgment is inconsistent in a material and adverse manner with any information or other matter
disclosed to the Administrative Agent and the Lenders prior to the Closing Date;

(n) Interim Order. At the time of the making of the initial Loan, the
Administrative Agent and the Lenders shall have received satisfactory evidence of the entry of
the Interim Order which Interim Order shall authorize Loans in an aggregate amount that will
permit Borrowers to have Availability, after consideration of the funding of any amounts
required to be funded pursuant to Section 5.01(p) of not less than $10,000,000 (such authorized
amount, the “Interim Amount’) and not more than the Maximum Credit;

(0) First Day Orders. The Borrowers shall have delivered to the
Administrative Agent and the Lenders copies of all of the “first day orders” entered by the
Bankruptcy Court at the time of the commencement of the Chapter 11 Cases;

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(p) Funding of Accounts. The Administrative Agent shall be satisfied that
at the time of making the initial Loan (either from the proceeds of such initial Loan or
otherwise), the Borrowers shall have deposited (i) at least $1,000,000 in the Lender Expenses
Escrow Subaccount and (ii) at least an amount (such amount, the “Interim Interest_Escrow
Deposit”) equal to the product of (x) an amount equal to all interest payments (assuming that an
amount of Loans equal to the Total Commitment is borrowed on the Closing Date and that the
interest rate applicable to the Loans is at a rate per annum equal to the LIBO Rate on the Closing
Date plus the Applicable Margin) due and payable at any time on or before the Maturity Date
(such amount, the “Interest Escrow Deposit”) and (y) a fraction the denominator of which is the
Interim Amount and the numerator of which is the Maximum Credit at such time, in the Interest
Escrow Subaccount.

(q) Other Documents. The Administrative Agent and each Lender shall
have received such other documents as the Administrative Agent or such Lender or its respective
counsel may reasonably request.

5.02 Conditions Precedent to Initial and Subsequent Loans. The obligation
of the Lenders to make any Loans hereunder at any time (or to extend any other credit
hereunder) shall be subject to the following conditions precedent:

(a) no Default or Event of Default shall have occurred and be continuing
or would result from the making of such Loans;

(b) both immediately prior to the making of such Loan and also after
giving effect thereto, evidence satisfactory to the Administrative Agent that both the amount and
intended use of proceeds of such Loan are in compliance with the Budget;

(c) both immediately prior to the making of such Loan and also after
giving effect thereto and to the intended use thereof, the representations and warranties made by
each Borrower in Section 6 hereof, and in each of the other Loan Documents, shall be true and
complete on and as of the date of the making of such Loan in all material respects with the same
force and effect as if made on and as of such date (or, if any such representation or warranty is
expressly stated to have been made as of a specific date, as of such specific date). At the request
of the Administrative Agent, the Administrative Agent shall have received an officer’s certificate
signed by a Responsible Officer of each Borrower certifying as to the truth and accuracy of the
above;

(d) after giving effect to such Loan, the outstanding principal amount of
the Loans shall not exceed the Maximum Credit;

(e) after entry of the Final Order, the Borrowers shall have deposited at
least an amount equal to the sum of the Interest Escrow Deposit minus the Interim Interest
Escrow Deposit in the Interest Escrow Subaccount;

(f) the Administrative Agent and each Lender shall have received a
Borrowing Notice;

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(g) the Interim Order or, after September 7, 2007, the Final Order shall not
have been stayed in any respect; and if either the Interim Order or the Final Order is the subject
of a pending appeal in any respect, neither the making of the Loans nor the performance by the
Borrowers of any of their respective obligations under any of the Loan Documents shall be the
subject of a presently effective stay pending appeal; and

(h) there shall not have occurred or be continuing an event beyond the
reasonable control of the Administrative Agent or any Lender which the Administrative Agent or
such Lender reasonably determines may imminently result in the Administrative Agent’s or such
Lender’s inability to perform its obligations under this Loan Agreement including, without
limitation, acts of God, strikes, lockouts, riots, acts of war or terrorism, epidemics,
nationalization, expropriation, currency restrictions, fire, communication line failures, computer
viruses, power failures, earthquakes, or other disasters of a similar nature to the foregoing.

Each Borrowing Notice hereunder shall constitute a certification by the Borrowers
to the effect set forth in this Section 5.02 (both as of the date of such Borrowing Notice, request
or confirmation and as of the date of such borrowing).

Section 6. Borrowers Representations and Warranties. Each Borrower
represents and warrants to the Administrative Agent and the Lenders that throughout the term of
this Loan Agreement:

6.01 Existence; Compliance with Law. Each Borrower (a) except in the
case of AHM\V, is a corporation duly organized, validly existing and in good standing under the
laws of its jurisdiction of organization as set forth on Schedule 6.01(a) hereto, (b) in the case of
AHMV is a limited liability company duly organized, validly existing and in good standing
under the laws of its jurisdiction of organization as set forth in Schedule 6.01(a) hereof, (c) has
all requisite corporate (or, in the case of AHMV, limited liability company) or other power, and
has all governmental licenses, authorizations, consents and approvals, necessary to own its assets
and carry on its business as now being or as proposed to be conducted, except as set forth on
Schedule 6.01(b) or where the lack of such licenses, authorizations, consents and approvals
would not be reasonably likely to have a Material Adverse Effect; and (d) is qualified to do
business and is in good standing in all other jurisdictions in which the nature of the business
conducted by it makes such qualification necessary, except where failure so to qualify would not
be reasonably likely (either individually or in the aggregate) to have a Material Adverse Effect;
and (c) is in compliance in all material respect with all Requirements of Law.

6.02 Financial Condition. The Borrowers have heretofore furnished to the
Lenders a copy of the Parent’s audited consolidated balance sheets as of December 31, 2006,
with the opinion thereon of Deloitte & Touche LLP, a copy of which has been provided to
Lenders. The Borrowers have also heretofore furnished to the Lenders the related consolidated
statement of income and retained earnings and of cash flows for the Borrowers and their
consolidated Subsidiaries for the one-year period ending December 31, 2006, setting forth
comparative form the figures for the previous period. All such financial statements are
materially complete and correct and fairly present in all material respects the consolidated
financial condition of the Borrowers and their Subsidiaries and the consolidated results of their
operations for the fiscal year ended on such date, all in accordance with GAAP applied on a

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consistent basis. The Borrowers did not have, as of the date of the latest financial statements
referred to above, and will not have as of the Closing Date after giving effect to the borrowing of
Loans hereunder, any material or significant contingent liability or liability for taxes, long-term
leases or unusual forward or long-term commitments that is not reflected in the foregoing
financial statements or the notes thereto in accordance with GAAP and that in any such case is
material in relation to the business, operations, properties, assets, financial or other condition or
prospects of the Borrowers.

6.03 Litigation. Except as set forth in Schedule 6.03, there are no actions,
suits, arbitrations, investigations or proceedings pending or, to its knowledge, threatened against
any Borrower or any Affiliate of any Borrower or affecting any of the property thereof before
any Governmental Authority, (i) as to which individually or in the aggregate there is a reasonable
likelihood of an adverse decision which would be reasonably likely to have a Material Adverse
Effect, or (ii) which questions the validity or enforceability of any of the Loan Documents or any
action to be taken in connection with the transactions contemplated hereby or thereby and there
is a reasonable likelihood of a materially adverse decision or a Material Adverse Effect. The
disclosure of any action, suit, arbitration, investigation or proceeding on Schedule 6.03 shall not
operate as a consent to such matter, or a waiver or an amendment of any right, power, or remedy
of the Administrative Agent or any Lender with respect to such matter, including the
Administrative Agent’s and the Lenders’ right to exercise its remedies in the event that any
matter listed on Schedule 6.03 is, results in, or has a Material Adverse Change or has a Material
Adverse Effect.

6.04 No Breach. Subject to the entry of the Interim Order (or the Final
Order, when applicable), neither (a) the execution and delivery of the Loan Documents or (b) the
consummation of the transactions therein contemplated in compliance with the terms and
provisions thereof will conflict with or result in a breach of the charter or by-laws of any
Borrower, or any applicable law, rule or regulation, or any order, writ, injunction or decree of
any Governmental Authority, or other instrument, indenture, or other material agreement, to
which any Borrower or any of its Subsidiaries is a party or by which any of them or any of their
property is bound or to which any of them is subject (other than conflicts, breaches and defaults
the enforcement of which will be stayed by virtue of the filing of the Chapter 11 Cases), or
constitute a default under any such instrument, indenture, or other material agreement or (except
for the Liens created pursuant to this Loan Agreement) result in the creation or imposition of any
Lien upon any property of any Borrower or any of its Subsidiaries, pursuant to the terms of any
such agreement or instrument.

6.05 Action. Subject to the entry of the Interim Order (or the Final Order,
when applicable), each Borrower has all necessary corporate or other power, authority and legal
right to execute, deliver and perform its obligations under each of the Loan Documents to which
it is a party; the execution, delivery and performance by each Borrower of each of the Loan
Documents to which it is a party has been duly authorized by all necessary corporate or other
action on its part; and each Loan Document has been duly and validly executed and delivered by
each Borrower and constitutes a legal, valid and binding obligation of each Borrower,
enforceable against each Borrower in accordance with its terms.

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6.06 Approvals. No authorizations, approvals or consents of, and no filings
or registrations with, any Governmental Authority, or any other Person, are necessary for the
execution, delivery or performance by any Borrower of the Loan Documents to which it is a
party or for the legality, validity or enforceability thereof, except for the Interim Order (or the
Final Order, when applicable) and those consents which have been obtained.

6.07 Margin Regulations. Neither the making of any Loan hereunder, nor
the use of the proceeds thereof, will violate or be inconsistent with the provisions of Regulation
T, U or X.

6.08 Taxes. Each Borrower and its Subsidiaries have filed all federal
income Tax Returns and all other material Tax Returns that are required to be filed by them and
have paid all Taxes otherwise required to be paid by them, except for any such taxes (other than
payroll Taxes), if any, that are being appropriately contested in good faith by appropriate
proceedings diligently conducted and with respect to which adequate reserves have been
provided in accordance with GAAP or except as permitted by the Bankruptcy Code to the
contrary. The charges, accruals and reserves on the books of each Borrower and its Subsidiaries
in respect of taxes and other governmental charges are adequate The information provided to the
Administrative Agent and the Lenders with respect to anyTax Refund Receivables is accurate
and complete in all respects.

6.09 Intellectual Property. Each Borrower owns, or is licensed to use, all
Intellectual Property necessary for the conduct of its business as currently conducted. No
material claim has been asserted and is pending by any Person challenging or questioning the use
of any Intellectual Property or the validity or effectiveness of any Intellectual Property, nor does
any Borrower know of any valid basis for any such claim. The use of Intellectual Property by
each Borrower does not infringe on the rights of any Person in any material respect.

6.10 Environmental Matters.

(a) The operations of the Borrowers have been and are in compliance with
all Environmental Laws, including obtaining and complying with all required environmental,
health and safety Permits, other than non-compliances that in the aggregate have (i) no
reasonable likelihood of the Borrowers incurring Environmental Liabilities and Costs in excess
of $50,000 and (ii) no Material Adverse Effect.

(b) None of the Borrowers or any Property currently or, to the knowledge
of the Borrowers, previously owned, operated or leased by or for any Borrower is subject to any
pending or, to the knowledge of the Borrowers, threatened, claim, order, agreement, notice of
violation, notice of potential liability or is the subject of any pending or threatened proceeding or
governmental investigation under or pursuant to Environmental Laws other than those that in the
aggregate have (i) no reasonable likelihood of the Borrowers incurring Environmental Liabilities
and Costs in excess of $50,000 and (ii) no Material Adverse Effect.

(c) None of the Borrower or any of its Subsidiaries is a treatment, storage
or disposal facility requiring a Permit under the Resource Conservation and Recovery Act, 42
U.S.C. § 6901 et seq., the regulations thereunder or any state analog.

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(d) There are no facts, circumstances or conditions arising out of or
relating to the operations or ownership of real property owned, operated or leased by the
Borrowers that are not specifically included in the financial information furnished to the Lenders
other than those that in the aggregate have (i) no reasonable likelihood of the Borrowers
incurring Environmental Liabilities and Costs in excess of $50,000 and (ii) no Material Adverse
Effect.

(e) As of the date hereof, to the knowledge of the Borrowers; no
Environmental Lien has attached to any property of any Borrower and, to the knowledge of the
Borrowers, no facts, circumstances or conditions exist that could reasonably be expected to result
in any such Lien attaching to any such property.

(f) The Borrowers have provided the Lenders with copies of all
environmental, health or safety audits, studies, assessments, inspections, investigations or other
environmental health and safety reports relating to the operations of the Borrowers or any of
their real property that are in the possession, custody or control of the Borrowers.

6.11 Investment Company Act. No Borrower nor any Subsidiary of a
Borrower is an “investment company”, or a company “controlled” by an “investment company”,
within the meaning of the Investment Company Act of 1940, as amended. No Borrower is
subject to any federal or state statute or regulation that limits its ability to incur indebtedness.

6.12 No Legal Bar. Subject to the entry of the Interim Order (or the Final
Order, when applicable), neither the execution, delivery and performance of this Loan
Agreement, the borrowings hereunder and the use of the proceeds thereof nor the provisions of
any other Loan Documents will violate any Requirement of Law or Contractual Obligation
(other than violations the enforcement of which will be stayed by virtue of the filing of the
Chapter 11 Cases) of any Borrower or of any Subsidiary of a Borrower and will not result in, or
require, the creation or imposition of any Lien (other than the Liens created hereunder) on any of
its respective properties or revenue, pursuant to any such Requirement of Law or Contractual
Obligation.

6.13 No Default. No Default or Event of Default has occurred and is
continuing.

6.14 Collateral: Collateral Security: Administrative Priority.

(a) Except for Permitted Liens, no Borrower has assigned, pledged, or

otherwise conveyed or encumbered any Collateral to any other Person. The Borrowers
represents that they are the sole owners of the Collateral and have good and marketable title
thereto free and clear of all Liens, other than the Lien of the Administrative Agent and Permitted
Liens.

(b) The provisions of this Loan Agreement, together with the Interim
Order (or the Final Order, when applicable), are effective to create in favor of the Administrative
Agent a valid and perfected security interest in all right, title and interest of the Borrowers in, to
and under the Collateral.

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(c) Upon the entry of the Interim Order (or the Final Order when
applicable), the Administrative Agent has the priority of Liens and claims as set forth in Section
4.09.

6.15 Location of Books and Records. The location where each Borrower
keeps its books and records including all computer tapes and records relating to the Collateral is
at 538 Broadhollow Road Melville, New York.

6.16 True_and Complete Disclosure. The information, reports, financial
statements, exhibits and schedules furnished in writing by or on behalf of the Borrowers to the
Administrative Agent or any Lender in connection with the negotiation, preparation or delivery
of this Loan Agreement, the other Loan Documents or included herein or therein or delivered
pursuant hereto or thereto, when taken as a whole, do not contain any untrue statement of
material fact or omit to state any material fact necessary to make the statements herein or therein,
in light of the circumstances under which they were made, not misleading. All written
information furnished after the date hereof by or on behalf of the Borrowers to the
Administrative Agent or any Lender in connection with this Loan Agreement, the other Loan
Documents and the transactions contemplated hereby and thereby will be true, complete and
accurate in every material respect, or (in the case of the Budget (other than historical
information) or projections) based on reasonable estimates, on the date as of which such
information is stated or certified. There is no Material Adverse Change and no fact known to a
Responsible Officer that could reasonably be expected to have a Material Adverse Effect that has
not been disclosed herein, in the other Loan Documents or in a report, financial statement,
exhibit, schedule, disclosure letter or other writing furnished to the Lenders for use in connection
with the transactions contemplated hereby or thereby.

6.17 ERISA. Each Plan to which a Borrower or its Subsidiaries make
direct contributions, and, to the knowledge of each Borrower, each other Plan and each
Multiemployer Plan, is in compliance in all material respects with, and has been administered in
all material respects in compliance with, the applicable provisions of ERISA, the Code and any
other federal or state law. No event or condition has occurred and is continuing as to which any
Borrower would be under an obligation to furnish a report to the Administrative Agent under
Section 7.01(g) hereof. No accumulated funding deficiency (as defined in Section 412 of the
Code or Section 302 of ERISA) has occurred with respect to any Plan. No Borrower nor any
ERISA Affiliate is subject to any present or potential liability under Title IV of ERISA that,
individually or in the aggregate, could have a Materially Adverse Effect. No material liability to
the PBGC (other than required premium payments), the Internal Revenue Service, any Plan or
trust established under Title IV of ERISA has been, or is expected by any Borrower or any
ERISA Affiliate to be, incurred by any Borrower or any ERISA Affiliate. No Borrower nor any
ERISA Affiliate has any contingent liability with respect to any post-retirement benefit under
any “welfare plan” (as defined in Section 3(1) of ERISA), other than liability for continuation
coverage under Part 6 of Title I of ERISA. No Lien under Section 412(a) of the Code or 302(f)
of ERISA. or requirement to provide security under Section 401(a)(29) of the Code or Section
307 of ERISA has been or is reasonably expected by any Borrower or any ERISA Affiliate to be
imposed on the assets of any Borrower or any ERISA Affiliate. No Borrower, the Parent nor any
ERISA Affiliate has engaged in any transaction prohibited by Section 408 of ERISA or Section
4975 of the Code. As of the Closing Date and throughout the term of the Loan Agreement, each

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Borrower is not and will not be an “employee benefit plan” as defined in Section 3(3) of ERISA,
which is subject to Title I of ERISA, and none of the assets of the Borrowers will constitute
“plan assets” of one or more such plans for purposes of Title I of ERISA or Section 4975 of the
Code.

6.18 Use of Proceeds. The Borrowers will use the proceeds of the Loans to
finance working capital and for other general corporate purposes of the Borrowers in accordance
with the Budget and to fund Lender Expenses and fees pursuant to Section 3.07 and the
repayment of any other Obligations.

6.19 Insurance. All insurance required to be obtained and maintained by
any Borrower pursuant to the Loan Documents has been obtained. All premiums then due and
payable on all such insurance have been paid.

6.20 No Agent or Lender Licenses. Neither the Administrative Agent nor
any Lender will be required solely as a result of this Loan Agreement or the financing or taking a
pledge of the mortgage loans to be licensed, registered or approved or to obtain permits or
otherwise qualify (i) to do business in any state in which it is not currently so required or (ii)
under any state consumer lending, fair debt collection or other applicable state statute or
regulation.

6.21 Subsidiaries. All of the Subsidiaries of the Borrowers at the date
hereof are listed on Schedule 6.21 to this Loan Agreement.

6.22 Origination of Unencumbered Whole Loans. The Unencumbered
Whole Loans were originated in all material respects pursuant to origination practices that are
legal and proper, prudent, and customary in the residential mortgage loan servicing business.

6.23 Orders. The Interim Order (or the Final Order, when applicable) is in
full force and effec and has not been stayed.

6.24 REIT Status. The Parent has elected to be treated as a REIT for U.S.
federal income tax purposes. AHMH is a taxable REIT Subsidiary of the Parent. AHMC is a
taxable REIT Subsidiaries of AHMIC. AHMA is a qualified REIT Subsidiary of the Parent. Each
of the Parent, AHMH, AHMC and AHMA is in compliance with the provisions of the Code
governing its REIT status, as applicable.

6.25 MERS Membership. As of the Closing Date, AHMH is a MERS
Member, the Borrowers are authorized users of the MERS System pursuant to the membership
of AHMH, and AHMH and the Borrowers are in compliance with all terms and conditions of
membership in MERS.

6.26 Collection Accounts and Escrow Accounts. The collection accounts
and escrow accounts of the Borrowers held for the benefit of third parties shall be fully funded
(or the applicable amounts shall be on deposit in segregated accounts) in accordance with the
terms of the applicable securitization documents. At any time upon the request of the
Administrative Agent, the Borrowers shall provide an officer’s certificate in support thereof, in
form and substance satisfactory to the Administrative Agent.

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6.27 Anti-Terrorism Law Compliance. No Borrower is in violation of any
law or regulation, or is identified in any list, of any Governmental Authority (including, without
limitation, the U.S. Office of Foreign Asset Control list, Executive Order No. 13224 or the USA
Patriot Act) that prohibits or limits the conduct of business with or the receiving of funds, goods
or services to or for the benefit of certain Persons specified therein or that prohibits or limits any
Lender from making any Loans to any Borrower or from otherwise conducting business with any
Borrower.

Section 7. Covenants of the Borrowers. Each Borrower covenants and agrees
with the Administrative Agent and the Lenders that, so long as any Loan is outstanding and until
payment in full of all Obligations:

7.01 Financial Statements and Other Information. The Borrowers shall
deliver (or cause to be delivered) to the Administrative Agent and each Lender:

(a) by the 15th and last day of each month, the Borrowers shall update the
Budget, such updated Budget to be reasonably satisfactory to the Administrative Agent and to
include actual numbers for historical periods included in the Budget;

(b) contemporaneous with the filing thereof, copies of all pleadings,
motions, applications, financial information and other papers and documents filed by the
Borrowers in the Chapter 11 Cases, with copies of such papers and documents also provided to
or served on the Administrative Agent’s counsel;

(c) promptly after the sending thereof, copies of all material written
reports and all term sheets for a plan of reorganization given by the Borrowers to the Committee
or any other official or unofficial creditors’ committee in the Chapter 11 Cases;

(d) from time to time such other information regarding the financial
condition, operations, or business of the Borrowers or any Affiliate of the Borrowers as the
Administrative Agent or any Lender may reasonably request; and

(e) as soon as reasonably possible, and in any event within ten (10)
Business Days after a Responsible Officer knows, or with respect to any Plan or Multiemployer
Plan to which any Borrower or any of its Subsidiaries makes direct contributions, has reason to
believe, that any of the events or conditions specified below with respect to any Plan or
Multiemployer Plan has occurred or exists, a statement signed by a senior financial officer of the
Administrative Borrower setting forth details respecting such event or condition and the action, if
any, that such Borrower or its ERISA Affiliate proposes to take with respect thereto (and a copy
of any report or notice required to be filed with or given to PBGC by the Borrowers or an ERISA
Affiliate with respect to such event or condition):

(i) any reportable event, as defined in Section 4043(b) of ERISA and the
regulations issued thereunder, with respect to a Plan, as to which PBGC has not by
regulation or otherwise waived the requirement of Section 4043(a) of ERISA that it be
notified within thirty (30) days of the occurrence of such event (provided that a failure to
meet the minimum funding standard of Section 412 of the Code or Section 302 of
ERISA, including, without limitation, the failure to make on or before its due date a

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required installment under Section 412(m) of the Code or Section 302(e) of ERISA, shall
be a reportable event regardless of the issuance of any waivers in accordance with
Section 412(d) of the Code); and any request for a waiver under Section 412(d) of the
Code for any Plan;

(ii) the distribution under Section 4041(c) of ERISA of a notice of intent
to terminate any Plan or any action taken by the Borrower, the Parent or an ERISA
Affiliate to terminate any Plan;

(ii1) the institution by PBGC of proceedings under Section 4042 of ERISA
for the termination of, or the appointment of a trustee to administer, any Plan, or the
receipt by any Borrower or any ERISA Affiliate of a notice from a Multiemployer Plan
that such action has been taken by PBGC with respect to such Multiemployer Plan;

(iv) the complete or partial withdrawal from a Multiemployer Plan by any
Borrower or any ERISA Affiliate that results in liability under Section 4201 or 4204 of
ERISA (including the obligation to satisfy secondary liability as a result of a purchaser
default) or the receipt by any Borrower or any ERISA Affiliate of notice from a
Multiemployer Plan that it is in reorganization or insolvency pursuant to Section 4241 or
4245 of ERISA or that it intends to terminate or has terminated under Section 4041A of
ERISA;

(v) the institution of a proceeding by a fiduciary of any Multiemployer
Plan against any Borrower or any ERISA Affiliate to enforce Section 515 of ERISA,
which proceeding is not dismissed within 30 days; and

(vi) the adoption of an amendment to any Plan that, pursuant to Section
401(e) of the Code or Section 307 of ERISA, would result in the loss of tax-exempt status
of the trust of which such Plan is a part if any Borrower or an ERISA Affiliate fails to
timely provide security to such Plan in accordance with the provisions of said Sections.

7.02 Litigation. Each Borrower shall promptly, and in any event within 5
Business Days after service of process on such Borrower, give to the Administrative Agent and
the Lenders notice of all legal or arbitrable proceedings affecting the Borrowers that questions or
challenges the validity or enforceability of any of the Loan Documents or as to which there is a
reasonable likelihood of adverse determination which would result in a Material Adverse Effect.

7.03 Existence, Etc. Each Borrower shall:

(a) preserve and maintain its legal existence and all of its material rights,
privileges, licenses and franchises;

(b) comply with the requirements of all applicable laws, rules, regulations
and orders of Governmental Authorities (including, without limitation, truth in lending, real
estate settlement procedures and all environmental laws, rules, regulations and orders of
Governmental Authorities) if failure to comply with such requirements would be reasonably
likely (either individually or in the aggregate) to have a Material Adverse Effect;

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(c) keep adequate records and books of account, in which complete entries
will be made in accordance with GAAP consistently applied;

(d) not move its chief operating office;

(e) pay and discharge and make deposit of all Taxes, assessments and
governmental charges or levies imposed on it or on its income or profits or on any of its Property
or which it is otherwise required to deposit prior to the date on which such Taxes are due, except
for any such Tax, assessment, charge or levy (excluding payroll Taxes) the payment of which is
being contested in good Faith and by proper proceedings and against which adequate reserves are
being maintained in accordance with GAAP or except as permitted by the Bankruptcy Code; and

(f) permit representatives of the Administrative Agent, any Lender or any
Lender-Related Party, during normal business hours upon reasonable advance notice (or at any
time and from time to time during the continuance of an Event of Default), to examine, copy and
make extracts from its books and records, to inspect any of its Properties, and to discuss its
business and affairs with its, all to the extent reasonably requested by the Administrative Agent,
any Lender or any Lender-Related Party.

7.04 Prohibition of Fundamental Changes. Except for Permitted
Dispositions, no Borrower will enter into any transaction of merger or consolidation or
amalgamation, or liquidate, wind up or dissolve itself (or suffer any liquidation, winding up or
dissolution) or sell all or substantially all of its assets.

7.05 [Reserved]

7.06 Satisfaction of Conditions Precedent for the Final Order. Each
Borrower shall use its commercially reasonable best efforts to satisfy the conditions precedent to
obtain the Final Order by September 7, 2007.

7.07 Notices. Each Borrower shall give notice to the Administrative Agent
and the Lenders promptly:
(a) upon any Borrower becoming aware of, and in any event within one

(1) Business Day after, the occurrence of any Default or Event of Default or any event of default
or default under any other material agreement of a Borrower (except any such default the
enforcement of which is stayed by the filing of the Chapter 11 Cases);

(b) upon, and in any event within one (1) Business Day after, service of
process on any Borrower or any Affiliate of any Borrower, or the Administrative Agent thereof
for service of process, in respect of any legal or arbitrable proceedings affecting any Borrower or
any Subsidiary or Affiliate of any Borrower (i) that questions or challenges the validity or
enforceability of any of the Loan Documents or (ii) in which the amount in controversy exceeds
$100,000, unless such proceeding is stayed by the commencement of the Chapter 11 Cases;

(c) upon any Borrower becoming aware of any Material Adverse Change,
or any Material Adverse Effect; and

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(d) upon the entry of a judgment or decree affecting the Borrowers in an
amount in excess of $100,000, unless collection of such judgment or decree is stayed by the
commencement of the Chapter 11 Cases.

Each notice pursuant to this Section 7.07 shall be accompanied by a statement of a Responsible
Officer of the applicable Borrower setting forth details of the occurrence referred to therein and
stating what action the applicable Borrower has taken or proposes to take with respect thereto.

7.08 Servicing. Each Borrower shall not permit any Person other than a
Borrower or AHMS to service Unencumbered Whole Loans without the prior written consent of
the Administrative Agent, which consent shall not be unreasonably withheld.

7.09 Lines of Business. The Borrowers will not engage to any substantial
extent in any line or lines of business activity other than the businesses engaged in by the
Borrowers as of the Closing Date.

7.10 Transactions with Affiliates. Other than with respect to transactions
solely among the Borrowers, no Borrower will enter into any transaction, including, without
limitation, any purchase, sale, lease or exchange of property or the rendering of any service, with
any Affiliate unless such transaction is (a) otherwise permitted under this Loan Agreement or the
other Loan Documents, (b) in the ordinary course of such Borrower’s business and (c) upon fair
and reasonable terms no less favorable to such Borrower than it would obtain in a comparable
arm’s length transaction with a Person which is not an Affiliate, or make a payment that is not
otherwise permitted by this Section 7.11 to any Affiliate.

7.11 Use of Proceeds. The Borrowers will use the proceeds of the Loans to
finance working capital and for other general corporate purposes of the Borrowers in accordance
with the Budget and to fund Lender Expenses and fees pursuant to Section 3.07 and the
repayment of any other Obligations.

7.12 Limitation on Liens. No Borrower will, nor will it permit or allow
others to, create, incur or permit to exist any Lien, security interest or claim on or to any
Collateral, except for (i) Liens existing on the Filing Date, (ii) Liens on the Collateral created
pursuant to this Loan Agreement and the other Loan Documents and (iii) other Liens acceptable
to the Administrative Agent (collectively, “Permitted Liens”). Each Borrower will defend the
Collateral against, and will take such other action as is necessary to remove, any Lien, security
interest or claim on or to the Collateral, other than the security interests created or allowed under
this Loan Agreement, and each Borrower will defend the right, title and interest of the
Administrative Agent and the Lenders in and to any of the Collateral against the claims and
demands of all persons whomsoever.

7.13 Limitation on Sale of Assets. No Borrower will convey, sell, lease,
assign, transfer or otherwise dispose of (collectively, “Transfer’’), any of its Property, business or
assets (including, without limitation, receivables and leasehold interests) whether now owned or
hereafter acquired, other than Permitted Dispositions.

7.14 Limitation on Distributions. No Borrower will make any payment on
account of, or set apart assets for a sinking or other analogous fund for the purchase, redemption,

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defeasance, retirement or other acquisition of any stock or senior or subordinate debt of such
Borrower, whether now or hereafter outstanding, or make any other distribution in respect
thereof, either directly or indirectly, whether in cash or property or in obligations of such
Borrower.

7.15 Restricted Payments. No Borrower shall make any Restricted
Payments other than Restricted Payments by any Borrower to any other Borrower.

7.16 Loans, Investments, Etc. The Borrowers shall not make or commit or
agree to make any loan, advance, guarantee of obligations, other extension of credit or capital
contributions to, or hold or invest in or commit or agree to hold or invest in, or purchase or
otherwise acquire or commit or agree to purchase or otherwise acquire any shares of the Equity
Interests, bonds, notes, debentures or other securities of, or make or commit or agree to make any
other investment in, any other Person, or purchase or own any futures contract or otherwise
become liable for the purchase or sale of currency or other commodities at a future date in the
nature of a futures contract, or permit any of its Subsidiaries to do any of the foregoing, except
for: (i) investments existing on the Closing Date, as set forth on Schedule 7.16 hereto, but not
any increase in the amount thereof as set forth in such Schedule or any other modification of the
terms thereof, (ii) loans and advances by any Borrower to another Borrower made in the ordinary
course of business, and (iii) cash and Cash Equivalents held in Control Accounts and the Loan
Account.

717 Orders, Administrative Priority; Lien Priority; Payment of Claims.

(a) The Borrowers shall not at any time seek, consent to or suffer to exist
any modification, stay, vacation or amendment of the Orders except for modifications and
amendments agreed to by the Administrative Agent.

(b) The Borrowers shall not at any time suffer to exist a priority for any
administrative expense of unsecured claim against any Borrower (now existing or hereafter
arising of any kind or nature whatsoever, including without limitation any administrative
expenses of the kind specified in Sections 503(b) and 507(b) of the Bankruptcy Code) equal or
superior to the priority of the Lenders in respect of the Obligations, except for the Carve-Out
Amount having priority over the Obligations to the extent set forth in the definition thereof.

(c) The Borrowers shall not at any time suffer to exist any Lien on the
Collateral having a priority equal or superior to the Lien in favor of the Administrative Agent
and the Lenders in respect of the Collateral except for Permitted Liens.

(d) Prior to the date on which the Obligations have been paid in full in
cash and the Commitments have been terminated, the Borrowers shall not pay any administrative
expense claims except (i) UST/Clerk Fees and Priority Professional Expenses (each such term, as
defined in the Applicable Order) and other payments pursuant to the definition of the term
“Carve-Out Amount,” (ii) any Obligations due and payable hereunder, (iii) other administrative
expense claims incurred in the ordinary course of the business of the Borrowers or their
respective Chapter 11 Cases and (iv) as otherwise provided in the Orders.

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7.18 No Amendment or Waiver. No Borrower will, without the prior
consent of the Lenders, nor will it permit or allow others to amend, modify, terminate or waive
any provision of any Unencumbered Whole Loan to which such Borrower is a party in any
manner that shall reasonably be expected to materially and adversely affect the value of such
loan as Collateral.

7.19 Maintenance of Property; Insurance. Each Borrower shall keep all of
its property useful and necessary in its business in good working order and condition. Each
Borrower shall maintain errors and omissions insurance or mortgage impairment insurance and
blanket bond coverage in such amounts as are in effect on the Closing Date (as disclosed to the
Lenders in writing) and shall not permit the reduction of such coverage without the written
consent of the Lenders, and shall also cause to be maintained such other insurance with
financially sound and reputable insurance companies, and with respect to property and risks of a
character usually maintained by entities engaged in the same or similar business similarly
situated, against loss, damage and liability of the kinds and in the amounts customarily
maintained by such entities.

7.20 ERISA. No Borrower will engage in any transaction which would
cause any obligation, or action taken or to be taken, hereunder (or the exercise by the
Administrative Agent or any Lender of any of its rights under this Loan Agreement or the other
Loan Documents) to be a non-exempt (under a statutory or administrative class exemption)
prohibited transaction under ERISA or result in a violation of a state statute regulating
governmental plans that would subject the Lender to liability for a violation of ERISA or such
state statute.

7.21 Other Indebtedness. The Borrowers shall not incur any other
Indebtedness (including any accrued interest thereon), other than Indebtedness incurred under
this Loan Agreement.

7.22 Prepetition Payments.

(a) The Borrowers will not (i) make any payment or prepayment on or
redemption or acquisition for value (including, without limitation, by way of depositing with the
trustee with respect thereto money or securities before due for the purpose of paying when due)
of any Pre-Petition Credit Facilities or other pre-Filing Date obligations of any Borrower, (ii) pay
any interest on any Pre-Petition Credit Facilities of any Borrower (whether in cash, in kind
securities or otherwise), or (iii) make any payment or create or permit any Lien pursuant to
Section 361 of the Bankruptcy Code (or pursuant to any other provision of the Bankruptcy Code
authorizing adequate protection), or apply to the Bankruptcy Court for the authority to do any of
the foregoing; provided that, to the extent permitted in the Orders, (x) the Borrowers may make
payments for administrative expenses that are allowed and payable under Sections 330 and 331
of the Bankruptcy Code, and (y) the Borrowers may make Prepetition Payments to such other
claimants and in such amounts as may be consented to by the Administrative Agent and
approved by the Bankruptcy Court.

(b) Will not amend or modify in any respect any Indebtedness existing on
the Filing Date.

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7.23 MERS.

(a) Each of the Borrowers shall, at all times, maintain its status as a
MERS Member (or, if applicable, as an authorized user of the MERS System) and at all times
remain in compliance with all terms and conditions of membership in MERS, including the
MERSCORP, Inc. “Rules of Membership” most recently promulgated by MERSCORP, Inc., the
“MERS Procedures Manual” most recently promulgated by MERS, and any and all other
guidelines or requirements set forth by MERS or MERSCORP, as each of the foregoing may be
modified from time to time, including, but not limited to, compliance with guidelines and
procedures set forth with respect to technological capabilities, drafting and recordation of deeds
of trust or mortgages, registration of deeds of trust or mortgages on the MERS System, including
registration of the interest of the Administrative Agent and the Lenders in such mortgages and
membership requirements; provided, however, that any of the Borrowers may resign from the
MERS System (or cease to be an authorized user of the MERS System) so long as such
Borrower has delivered to the Administrative Agent: (1) written notice that it intends to resign
from the MERS System (or cease to be an authorized user of the MERS System) no later than 60
days prior to the proposed effective date of such resignation or cessation, and (2) such evidence
as the Administrative Agent may request that upon the effective date of such Borrower’s
resignation from the MERS System (or cessation as an authorized user of the MERS System)
and at all times thereafter, no deed of trust or mortgage shall be registered to such Borrower on
the MERS System unless such Borrower shall be a MERS Member (or an authorized user of the
MERS System).

(b) Each of the Borrowers that is a MERS Member shall promptly, upon
the request of the Administrative Agent, execute and deliver to the Administrative Agent an
assignment of mortgage, in blank, with respect to any MERS Mortgage that the Administrative
Agent reasonably determines shall be removed from the MERS System.

(c) Upon the registration of any Mortgage on the MERS System, each of
the Borrowers designates the Administrative Agent in the Custodian Category and the Interim
Funder Category with respect to such Mortgage.

(d) Each of the Borrowers agrees that it shall not de-register or attempt to
de-register any deed of trust or mortgage from the MERS System unless such Borrower has
complied with the requirements set forth in the Electronic Tracking Agreement (as defined for
the purposes of the MERS System and the requirements hereof relating to a release of Collateral.

(e) Each of the Borrowers shall employ officers who have the authority,
pursuant to a corporate resolution of MERS, to execute assignments of deeds of trust and
mortgages in the name of MERS in the event de-registration of a deed of trust or mortgage from
the MERS System is necessary or desirable.

(f) Each of the Borrowers shall execute and deliver to the Administrative
Agent such blank assignments of deeds of trust and mortgages as the Administrative Agent may
require.

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7.24 REIT. Each of the Borrowers shall maintain its status described in
Section 6.24,

7.25 Retention of CRO. The Borrowers shall continue to retain a chief
restructuring officer reasonably acceptable to the Administrative Agent (it being understood that
the retention of Kroll Zolfo Cooper as restructuring firm and Stephen F. Cooper as chief
restructuring officer shall be acceptable to the Administrative Agent) that has substantial
experience and expertise advising Chapter 11 debtors-in-possession in large and complex
bankruptcy cases; provided that the Borrowers shall be permitted to replace any such advisor(s)
with any other advisors satisfying the requirements of this Section and shall be permitted a
period of time (not to exceed 10 Business Days) to file an application with the Bankruptcy Court
to employ such replacement advisor(s).

Section 8. Events of Default. Each of the following events shall constitute an
event of default (an “Event of Default”) hereunder:

(a) the Borrowers shall fail to make a payment of (i) when and as required
to be paid herein, any amount of principal of any Loan, (ii) within three days after the same
becomes due, any interest on any Loan or any fee due hereunder or (iii) within five days after the
same becomes due, any other amount payable hereunder or under any other Loan Document
(whether at stated maturity or upon acceleration); or

— (b) the Borrowers shall fail to make any mandatory prepayment under
Section 2.06; or

(c) the Borrowers shall default in the payment of any other Obligation or
any other amount due under any other Loan Document, and such default shall have continued
unremedied for 5 Business Days; or

(d) any representation, warranty or certification made or deemed made
herein (including in Section 6) or in any other Loan Document by any Borrower or any
certificate furnished to the Administrative Agent or any Lender pursuant to the provisions
thereof, shall prove to have been false or misleading in any material respect as of the time made
or furnished; or

(e) (i) the Borrowers shall fail to comply with the requirements of
Section 7.02, Section 7.03(a), Section 7.07(a), Section 7.08, Sections 7.11 through 7.18, or
Sections 7.20 through 7.25 hereof; or (ii) the Borrowers shall otherwise fail to observe or
perform any other agreement contained in this Loan Agreement or any other Loan Document and
such failure to observe or perform shall continue unremedied for a period of 10 Business Days;
or

6 except for any judgment the enforcement of which is stayed by the
commencement of the Chapter 11 Cases, a final judgment or judgments for the payment of
money in excess of (i) $50,000, individually, or (iii) $250,000 in the aggregate, per calendar year
(to the extent that it is, in the reasonable determination of the Administrative Agent, uninsured
and provided that any insurance or other credit posted in connection with an appeal shall not be
deemed insurance for these purposes) shall be rendered against any Borrower or any of its

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Subsidiaries by one or more courts, administrative tribunals or other bodies having jurisdiction
over them and the same shall not be discharged (or provision shall not be made for such
discharge) or bonded, or a stay of execution thereof shall not be procured, within 30 days from
the date of entry thereof and any such Borrower or any such Subsidiary shall not, within said
period of 30 days, or such longer period during which execution of the same shall have been
stayed or bonded, appeal therefrom and cause the execution thereof to be stayed during such
appeal; or

(g) any Loan Document shall for whatever reason (including an event of
default thereunder) be terminated or the Lien on the Collateral created by this Loan Agreement
and the Orders, any Borrower’s material obligations hereunder or under any Loan Document
shall cease to be in full force and effect or, in the Administrative Agent’s good faith
determination, otherwise cease to benefit the Administrative Agent or any Lender, or the
enforceability thereof shall be contested by any Borrower; or

(h) the occurrence of a Material Adverse Change or a Material Adverse
Effect; or ,

(i) (i) any Person shall engage in any “prohibited transaction” (as defined
in Section 406 of ERISA or Section 4975 of the Code) involving any Plan, (ii) any material
“accumulated funding deficiency” (as defined in Section 302 of ERISA), whether or not waived,
shall exist with respect to any Plan, any Borrower or any ERISA Affiliate shall fail to make a
required installment payment to any Plan on or before the date due under Section 302 of ERISA
or Section 412 of the Code, or any Lien in favor of the PBGC or a Plan shall arise on the assets
of any Borrower or any ERISA Affiliate, (iii) a reportable event as defined in Section 4043(b) of
ERISA and the regulations issued thereunder shall occur with respect to, or proceedings shall
commence to have a trustee appointed, or a trustee shall be appointed, to administer or to
terminate, any Plan, which reportable event or commencement of proceedings or appointment of
a trustee is, in the reasonable opinion of the Lender, likely to result in the termination of such
Plan for purposes of Title IV of ERISA, (iv) any Plan shall terminate for purposes of Title IV of
ERISA, (v) any Borrower or any ERISA Affiliate shall, or in the reasonable opinion of the
Administrative Agent is likely to, incur any liability in connection with a withdrawal from, or the
insolvency or reorganization of, a Multiemployer Plan, (vi) any Borrower or any ERISA
Affiliate shall fail to pay when due or is in default on an amount which it shall have become
liable to pay to the PBGC, any Plan, any Multiemployer Plan or a trust established under Section
4049 of ERISA, or (vii) a condition shall exist by reason of which the PBGC would be entitled to
obtain a decree adjudicating that an ERISA Plan must be terminated or have a trustee appointed
to administer any ERISA Plan, (viii) any other event or condition shall occur or exist with
respect to any Plan which could subject any Borrower or any ERISA Affiliate to any tax, penalty
or other liability or the imposition of any Lien or security interest on any Borrower or any
ERISA Affiliate, (ix) any Borrower shall incur any liability for any post-retirement or post-
termination health or life insurance or (x) the assets of any Borrower become or are deemed to be
“plan assets” of a plan subject to ERISA or Section 4975 of the Code. No Event of Default shall
be deemed to be, or have been, waived or corrected because of any disclosure by any Borrower;
and in each case in clauses (i) through (ix) above, such event or condition, together with all other
such events or conditions, if any, could reasonably be expected to have a Material Adverse
Effect; or

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(j) any Change of Control; or

(k) any Borrower shall grant, or suffer to exist, any Lien on any Collateral
except the Liens in favor of the Administrative Agent and the Secured Parties and other
Permitted Liens; or the Liens granted hereunder shall cease to be valid and perfected (i) first
priority Liens on the First Lien Collateral or (ii) Liens on the Second Lien Collateral subject, as
to priority, only to Liens existing on the Filing Date securing the Senior Claims, in each case in
favor of the Administrative Agent and the Lenders, or there shall be Liens in favor of any
Person, except in each case Permitted Liens; or

(1) any Borrower shall default under, or fail to perform as required under,
or shall otherwise materially breach the terms of any instrument, agreement or contract between
such Borrower entered into or assumed on or after the Filing Date, on the one hand, and the
Administrative Agent, or any of the Administrative Agent’s Affiliates on the other; or

(m) the Bankruptcy Court shall not have entered the Final Order by
September 7, 2007; or

(n) an order with respect to any of the Chapter 11 Cases shall be entered
by the Bankruptcy Court appointing, or any Borrower shall file an application for on order with
respect to any Chapter 11 Case seeking the appointment of, (i) a trustee under Section 1104 of
the Bankruptcy Code, or (ii) an examiner with enlarged powers relating to the operation of the
business (powers beyond those set forth in Section 1106(a)(3) and (4) of the Bankruptcy Code)
under Section 1106(b) of the Bankruptcy Code; or

(0) an order with respect to any of the Chapter 11 Cases shall be entered
by the Bankruptcy Court converting such Chapter 11 Case to a Chapter 7 case; or

(p) (i) the Borrowers file a plan of reorganization in the Chapter 11 Cases
which does not contain a provision for termination of the Commitments and payment in full in
cash of all Obligations of the Borrowers hereunder and under the other Loan Documents on or
before the effective date of such plan or plans or (ii) an order shall be entered by the Bankruptcy
Court confirming a plan of reorganization in any of the Chapter 11 Cases which does not contain
a provision for termination of the Commitments and payment in full in cash of all Obligations of
the Borrowers hereunder and under the other Loan Documents and the release of the
Administrative Agent and the Lenders in full from all claims of the Borrowers and their
respective estates on or before the effective date of such plan or plans upon entry thereof; or

(q) an order shall be entered by the Bankruptcy Court dismissing any of
the Chapter 11 Cases which does not contain a provision for termination of the Commitments,
and payment in full in cash of all Obligations of the Borrowers hereunder and under the other
Loan Documents upon entry thereof; or

(r) an order with respect to any of the Chapter 11 Cases shall be entered
by the Bankruptcy Court or any other court of competent jurisdiction without the express prior
written consent of the Lenders, (i) to revoke, reverse, stay for a period in excess of 10 days,
vacate, rescind, modify, supplement or amend the Orders, this Loan Agreement or any other
Loan Document, in each case in a manner that is adverse the Administrative Agent and the

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